       Case 4:15-cv-02981 Document 1 Filed on 10/12/15 in TXSD Page 1 of 9



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

TEXAS LAW SHIELD, LLP                         §
     Plaintiff,                               §
vs.                                           §       CIVIL ACTION
                                              §
FUSEBILL INC.                                 §
     Defendant.                               §       JURY DEMANDED

       PLAINTIFF’S VERIFIED ORIGINAL COMPLAINT AND APPLICATION
      FOR TEMPORARY RESTRAINING ORDER, PRELIMINARY INJUNCTION
                      AND PERMANENT INJUNCTION

        Plaintiff Texas Law Shield, LLP files this Original Complaint and Application for

Temporary Restraining Order, Preliminary and Permanent Injunction against Fusebill Inc. and

shows the following:

                                          I. Introduction

        1.       Plaintiff TLS offers educational and prepaid legal services to more than 100,000

gun owners in Texas. TLS customers pay $10.95 per month for its services. Defendant Fusebill

provides recurrent billing services to TLS and other companies whose customers pay their

monthly bills via a credit card or other electronic means.

        2.       TLS brings this case because Fusebill has breached the parties’ agreement and is

tortiously interfering with its prospective business relations by refusing to make TLS’ customer

credit card and payment data available for transfer to one of Fusebill’s competitors.

                                             II. Parties

        3.       Plaintiff TLS is a company organized and doing business under the laws of Texas.

        4.       Defendant Fusebill Inc. is a registered corporation in Ontario, Canada with its

registered office at 302-232 Herzberg Rd, KANATA, Ontario, K2K 2A1, Canada. Fusebill can

be served with process under the Hague Convention by serving Cynthia Gallagher, Ministry of
Original Complaint: TLS v. Fusebill
Page 1
       Case 4:15-cv-02981 Document 1 Filed on 10/12/15 in TXSD Page 2 of 9



the Attorney General, Central Authority for Ontario, PO Box 640, Downsview, Ontario M3M

3A3.

                                      III. Jurisdiction and Venue

        5.       This is a civil action for breach of contract, tortious interference with prospective

relations and conversion.

        6.       This Court has original jurisdiction of this civil action under 28 U.S.C. §§ 1331

and 1338.

        7.       Venue is proper in the United States District Court of Texas, Houston Division

because all or most of the events giving rise to this cause of action took place in Houston, Harris

County, Texas. 28 U.S.C. § 124(b)(2) and because the parties contractually agreed that Harris

County, Texas would be the mandatory venue for all disputes.

                                       IV. Factual Background

        8.       In February 2014, TLS entered an agreement with Fusebill to assist with the

collection, maintenance and processing of the recurring monthly bills of TLS’ customers. The

agreement consists of an individualized term sheet and Fusebill’s standard Terms and Conditions.

A copy of the agreement is attached as Exhibit A.

        9.       TLS paid Fusebill a one time set up, design and implementation charge of

$83,000. TLS further agreed to pay and has paid monthly recurring fees of approximately

$15,000 based on the number of TLS customers and credit card swipers utilized. TLS also

agreed to pay and has paid Fusebill an annual $5,000 charge for maintenance and support.

        10.      Pursuant to the terms of the agreement, all information, statistics and materials

related to TLS’ customers’ transactions (the “Data”) belongs to and is owned by TLS and TLS

has the right to retrieve its Data at anytime (see sections 3.3 and 4.2 of the agreement). For each

Original Complaint: TLS v. Fusebill
Page 2
       Case 4:15-cv-02981 Document 1 Filed on 10/12/15 in TXSD Page 3 of 9



of TLS’ customers, this Data includes the following fields within Fusebill’s system: (1) a unique

customer ID, (2) customer first name, (3) customer last name, (4) customer credit card number,

(5) customer credit card expiration date and (6) customer address (collectively, this Data is

referred to as the “Data At Issue”).

        11.      Under the agreement, TLS has the right to terminate upon 30 days written notice

at any time there exists a material breach that is not remedied to the satisfaction of TLS. TLS

invoked that right and gave notice of termination in June 2015, advising Fusebill that it would

pay for its services through December of 2015. TLS did so after Fusebill caused TLS to suffer

substantial monetary losses because of inconsistent performance of the services promised and

because in June 2015, Fusebill notified TLS that it was substantially reducing and ultimately

eliminating the support it was providing for the platform on which TLS’ customer credit card

data was being processed.

        12.      As a result, TLS concluded it needed to transfer its recurring credit card

processing business to another vendor in order to maintain its operations and provide its 100,000

plus customers with the same level of service they are contractually entitled to receive. TLS then

began looking for an alternative vendor to handle the recurring credit card payments and related

transactions for its customers.

        13.      In September, TLS notified Fusebill that it wanted to retrieve the Data At Issue

for transfer to one of Fusebill’s competitors between November 2d and 4th of this year. Initially,

Fusebill responded angrily - claiming that it owned all of the US and Canadian patents for the

ability to transact credit card data from a point of sale terminal/card reader and process recurring

transactions from that data - and threatened to use the $71 billion dollar pension fund that backed

it to pursue “full legal efforts to ensure that our patents are not infringed upon.” Fusebill then

Original Complaint: TLS v. Fusebill
Page 3
       Case 4:15-cv-02981 Document 1 Filed on 10/12/15 in TXSD Page 4 of 9



said it would not allow TLS to retrieve the Data At Issue during the time frame requested unless

TLS paid Fusebill $34,950. And that if TLS wouldn’t pay the $34,950, it would have to wait

until the middle of February 2016 to retrieve the Data At Issue.

        14.      According to a TLS senior IT Officer and Computer Programmer, the process of

transferring of the Data At Issue should take less than five (5) minutes of programmer time and

no more than an hour or two of computer processing time once the programmer finishes his or

her work.     The support involved is the functional equivalent of clicking file, export, then

selecting the six (6) fields that make up the Data At Issue, giving the file of the data to be

exported a name and location and hitting the “enter” button on a keyboard. See Exhibit B,

Affidavit of Philip Martella.

        15.      Fusebill’s conduct gives rise to the following causes of action.

                                          VI. Causes of Action

Count 1 – Breach of Contract

        16.      TLS reasserts the facts and allegations set forth in paragraphs 1 through 15 above.

        17.      Fusebill entered an agreement with TLS that provided TLS owned the Data At

Issue and could retrieve it at anytime.

        18.      Fusebill’s refusal to permit TLS to retrieve the Data At Issue during the

timeframe requested by TLS constitutes a breach of contract. Fusebill’s breach is the proximate

cause of TLS’ damages.

Count 2 – Tortious Interference with Prospective Relations or Alternatively with Tortious
Interference With an Existing Contract

        19.      TLS reasserts the facts and allegations set forth in paragraphs 1 through 18 above.

        20.      There is a reasonable probability that TLS would have entered into a business

relationship with a third person. Fusebill is intentionally interfering with such relationship by
Original Complaint: TLS v. Fusebill
Page 4
       Case 4:15-cv-02981 Document 1 Filed on 10/12/15 in TXSD Page 5 of 9



refusing to permit TLS to retrieve the Data At Issue during the time frame requested. Fusebill’s

conduct is independently tortious or unlawful. Fusebill’s interference proximately caused TLS’s

injury and TLS has suffered actual damage or loss.

        21.      Alternatively, TLS has a valid contract with a third person. Fusebill is willfully

and intentionally interfering with the contract by refusing to permit TLS to retrieve the Data At

Issue during the time frame requested. Fusebill’s interference proximately caused TLS’ injury

and TLS has suffered actual damage or loss.

Count 3 – Conversion

        22.      TLS reasserts the facts and allegations set forth in paragraphs 1 through 22 above.

        23.      TLS owned, possessed, or had the right to immediate possession of the Data At

Issue. The Data At Issue is personal property. Fusebill wrongfully exercised dominion or

control over the Data At Issue by refusing to permit TLS to retrieve the Data At Issue during the

time frame requested. Fusebill’s wrongful conduct caused TLS to suffer injury.

                               VII. Application for TRO Against Fusebill

        24.      TLS reasserts the facts and allegations set forth in paragraphs 1 through 23 above.

        25.      TLS seeks a temporary restraining order and also a preliminary and permanent

injunction prohibiting Fusebill from precluding TLS from continuing to hijack the Data At Issue

for TLS’ 100,000 plus customers and to require Fusebill to produce such data to TLS’ new

vendor by November 2, 2015.

        26.      Preventing TLS from retrieving the Data At Issue jeopardizes its operations and

puts TLS’ existence at risk – particularly since Fusebill substantially reduced the support it was

provided for the platform on which TLS’ customer credit data is processed. TLS cannot operate

effectively with a credit card vendor who has failed to provide the services promised and who

Original Complaint: TLS v. Fusebill
Page 5
       Case 4:15-cv-02981 Document 1 Filed on 10/12/15 in TXSD Page 6 of 9



added insult to injury by substantially reducing the support it was providing for the platform on

which TLS’ customer credit card data was being processed. TLS needs to retrieve the Data At

Issue for migration to a new vendor by November 4, 2015, or it faces immediate and irreparable

harm and injury to its operations.

        27.      The balance of equities between TLS on the one hand and Fusebill on the other

hand favor the issuance of immediate injunctive relief. Fusebill will suffer no harm. It has

received all monthly fees, an annual $5,000 payment for maintenance and support and TLS has

agreed to pay for Fusebill’s services through December 31, 2015, even though it intends to

transfer its service by November 4, 2015. On the other hand, failure to grant injunctive relief

would, in effect, sanction Fusebill’s tortious interference with TLS’ prospective business

relations and put TLS’ entire existence at risk.

        28.      The issuance of injunctive relief will not adversely affect public policy. In fact, it

is the public policy of the United States to enforce agreements and prevent tortious interference

with prospective relations.

        29.      For the reasons articulated herein, TLS respectfully requests a temporary

restraining order against Fusebill which provides that:

              a. Fusebill be restrained from holding hostage or otherwise hijacking the Data At
                 Issue for TLS 100,000 plus customers; and

              b. Fusebill shall produce within five (5) days of this Order all of the Data At Issue
                 for migration onto TLS’ new customer data vendor’s system.

                                      VIII. Preliminary Injunction

        30.      TLS further requests that Fusebill be cited to appear and show cause and that

upon such hearing a preliminary injunction be issued enjoining Fusebill from directly or

indirectly violating the terms of paragraph 29 above (to the extent that a preliminary injunction

Original Complaint: TLS v. Fusebill
Page 6
       Case 4:15-cv-02981 Document 1 Filed on 10/12/15 in TXSD Page 7 of 9



has not already been issued against them) and further enjoined in a manner that the Court deems

appropriate and necessary to preserve the status quo.

                                      IX. Permanent Injunction

        31.      TLS further requests that a permanent injunction be ordered on the final trial of

this cause, enjoining Fusebill from directly or indirectly violating the terms of paragraph 29

above (to the extent that a preliminary injunction has not already been issued against them) and

further enjoined in a manner that the Court deems appropriate and necessary to fully preserve the

rights granted to the owner of TLS’ customer data.

                                           X. Verification

        32.      In addition to Exhibits A (the Agreement) and B (Affidavit of Philip Martella)

referenced above, attached hereto in support of the forgoing application for injunctive relief is

the Verification of Kirk Evans, all of which are incorporated herein by reference.

                                      XI. Conditions Precedent

        33.      All conditions precedent to TLS’ right to recover as herein alleged, if any, have

been performed, have occurred or have been waived.

                                         XII. Jury Demand

        34.      TLS demands a trial by jury.

                                            XIII. Prayer

        35.      For these reasons, TLS asks for judgment against Fusebill for the following:

        a)       Actual damages;

        b)       A Temporary Restraining Order and Injunctive relief as set forth herein;

        c)       Reasonable attorneys’ fees pursuant to Tex. Bus. & Comm. Code § 16.104(c);

        d)       Costs of court;

Original Complaint: TLS v. Fusebill
Page 7
       Case 4:15-cv-02981 Document 1 Filed on 10/12/15 in TXSD Page 8 of 9



        e)       Prejudgment and postjudgment interest; and

        f)       All other relief the Court deems appropriate.

        PREMISES CONSIDERED, TLS prays that the Court immediately issue a Temporary

Restraining Order against Fusebill and, following notice and hearing, a Preliminary Injunction as

requested above and that, upon final trial hereon, it have and recover judgment for the sought

after relief, injunctive relief, damages, punitive damages, equitable relief, attorneys’ fees, costs

of court, prejudgment and post-judgment interest at the maximum lawful rates as requested

above, together with such other and further relief to which it may be justly entitled.

                                                      Respectfully submitted,
                                                      Ahmad, Zavitsanos, Anaipakos, Alavi &
                                                      Mensing PC

                                                      /s/ J. P. Kevin Leyendecker
                                                      P. Kevin Leyendecker
                                                      Attorney-in-charge
                                                      State Bar No. 00784472
                                                      S.D. Tx Federal I.D. No. 28415
                                                      1221 McKinney Street, Suite 3460
                                                      Houston, Texas 77010
                                                      Tel.: (713) 655-1101
                                                      Fax: (713) 655-0062
                                                      kleyendecker@azalaw.com

                                                      Attorney for Plaintiff TLS, LLP




Original Complaint: TLS v. Fusebill
Page 8
          Case 4:15-cv-02981 Document 1 Filed on 10/12/15 in TXSD Page 9 of 9


                                                                i
                                         VERIFICATION       I
          BEFORE ME, the undersigned authority, a Notary ~hlic authorized to administer oaths,

on this day personally appeared Kirk Evans, who, after bein~ duly sworn, did on his oath depose

and state that he is the President of Texas Law Shield LLP land that he has read the above and

foregoing Original Complaint and Application for Temporr Restraining Order, Preliminary

Injunction and Permanent Injunction and, based on his pers¢nal knowledge, the facts contained
                                                            I


therein are true and correct.




                                       Kirk Evans


       Subscribed, sworn to and given under my hand I d seal of office this 12th day of
October, 2015.




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                 F. DAVID DONCHECZ
               MY COMMISSION EXPIRES
                   March 21, 2018




My commission expires:




Original Complaint: TLS v. Fusebill
Page9
